      Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 1 of 33




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                   Plaintiff,
                                          FILED PARTIALLY UNDER SEAL
           v.

HO WAN KWOK,                              Case No. 1:23-CR-118-1 (AT)

                   Defendant.




                   MEMORANDUM OF LAW IN SUPPORT OF
                DEFENDANT’S MOTION TO COMPEL DISCOVERY


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             Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 2 of 33




                                                    TABLE OF CONTENTS


TABLE OF AUTHORITIES .......................................................................................................... ii

PRELIMINARY STATEMENT .....................................................................................................1

RELEVANT BACKGROUND .......................................................................................................3

          I. Operation Fox Hunt .......................................................................................................3

          II. The New Federal State of China (NFSC) ......................................................................5

          III.
                                                 .....................................................................................................8

          IV. The Indictment & the Government’s Brady Disclosures ...............................................9

                 A. The Indictment ..........................................................................................................9

                 B. The Government’s Brady Disclosure ......................................................................10

          V. Mr. Kwok’s Discovery Requests and the Government’s Response ............................11

                 A. Mr. Kwok’s Discovery Requests ............................................................................11

                 B. The Government Refuses to Produce the Fox Hunt Brady Evidence and the August
                 26 Recording ................................................................................................................13

ARGUMENT .................................................................................................................................14

          I. Applicable Law ............................................................................................................15

          II. Discussion ....................................................................................................................17

                  A. Any Fox Hunt Brady Evidence Should Be Disclosed ...........................................17

                  B. The August 26 Recording Is Discoverable ............................................................27

                  C. The Government Should Identify Any Other U.S. Government Agency that the
                     Government Knows Possesses the Aforementioned Information .........................28

CONCLUSION ..............................................................................................................................29




                                                                         i
             Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 3 of 33




                                               TABLE OF AUTHORITIES

Cases                                                                                                                         Page(s)

Brady v. Maryland,
   373 U.S. 83 (1963) ........................................................................................................... passim

Giglio v. U.S.,
   405 U.S. 150 (1972) ...........................................................................................................12, 16

Kyles v. Whitley,
   514 U.S. 419 (1995) .................................................................................................................16

United States v. Abu-Jihaad,
   630 F.3d 102 (2d Cir. 2010).....................................................................................................17

United States v. Aref,
   533 F.3d 72 (2d Cir. 2008).......................................................................................................17

United States v. Coonan,
   938 F.2d 1553 (2d Cir. 1991).......................................................................................19, 23, 24

United States v. Coppa,
   267 F.3d 132 (2d Cir. 2001).....................................................................................................16

United States v. Ji,
   2022 WL 595259 (E.D.N.Y. Feb. 28, 2022)............................................................................22

United States v. LaVallee,
   469 F.2d 1239 (2d Cir. 1972)...................................................................................................25

United States v. Lloyd,
   992 F.2d 348 (D.C. Cir. 1993) .................................................................................................15

United States v. Martinez,
   844 F. Supp. 975 (S.D.N.Y. 1994) ..........................................................................................16

United States v. Percoco,
   2017 WL 6314146 (S.D.N.Y. Dec. 11, 2017) ...................................................................21, 24

United States v. Poindexter,
   725 F. Supp. 13 (D.D.C. 1989) ................................................................................................17

United States v. Rittweger,
   524 F.3d 171(2d Cir. 2008)..........................................................................................21, 22, 23

United States v. Stein,
   488 F. Supp. 2d 350 (S.D.N.Y. 2007)......................................................................................15


                                                                    ii
             Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 4 of 33




United States v. Stevens,
   985 F.2d 1175 (2d Cir. 1993).............................................................................................15, 16

United States v. Zanfordino,
   833 F. Supp. 429 (S.D.N.Y. 1993) ..........................................................................................16

Statutes

Fed. R. Crim. P. 16 ..........................................................................................................................1

Fed. R. Crim. P. 16(a)(1)(B) ..........................................................................................................15

Fed. R. Crim. P. 16(a)(1)(E)(i) ......................................................................................................15

Other

Just. Manual § 2052(B)(2) .............................................................................................................17




                                                                     iii
         Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 5 of 33




       Defendant Ho Wan Kwok respectfully submits this memorandum of law in support of his

motion, pursuant to Federal Rule of Criminal Procedure 16, for an order compelling the

government to produce several categories of exculpatory evidence concerning (i) the Chinese

Communist Party’s (the “CCP”) targeting of Mr. Kwok, his family, the political movement of

which he is part, and his fellow movement members through a campaign of harassment and

intimidation commonly known as “Operation Fox Hunt”; (ii) the credibility of Mr. Kwok’s

movement, the New Federal State of China (the “NFSC”); (iii)




                             and (iv) the identity of any U.S. government agency, other than the

FBI, possessing any of the aforementioned information.

                              PRELIMINARY STATEMENT

       Having charged Mr. Kwok with a purported billion-dollar fraud, the government now

refuses to produce evidence that goes to—and dramatically undercuts—its case.

                                              , Mr. Kwok is one of the most—if not the most—

pursued targets of the CCP’s Operation Fox Hunt. Operation Fox Hunt is a campaign of

intimidation, harassment, and violence designed to suppress dissidents like Mr. Kwok, who are

trying to overthrow the CCP and bring democracy to China. The CCP has targeted Mr. Kwok

through varied and heinous methods, including attempted kidnapping, suppression of speech, and

detention of his family members. Other members of the NFSC have also been targeted, including

by
           Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 6 of 33




         The government cannot seriously dispute any of these facts, given that in public statement

after public statement, the government has decried Operation Fox Hunt

         as illegal. Indeed, the government has filed criminal charges against several CCP agents

and others for their participation in these operations. Nor can the government seriously contest

the relevance of Operation Fox Hunt to this prosecution because the government has already

disclosed, as Brady material,



                       That concession is frankly inescapable—Operation Fox Hunt and the CCP’s

suppression of dissident voices permeate this case. It is thus hardly shocking that Mr. Kwok and

the NFSC would take certain measures to counter the CCP’s campaign against them, including

measures that the government points to as evidence of wrongdoing, such as (i) the NFSC wanting

its own social media platform (GTV) after the CCP successfully de-platformed them from other

social media platforms; (ii) finding a remote and secure location to meet and conduct their business

(the Mahwah Facility) when they and their families are under constant threat of kidnapping or

detention by the CCP; (iii) taking measure to address and counter the CCP’s persistent interference

with their relationships with commercial banks; or (iv) using multiple cellphones to try to defend

against the CCP’s widespread cyber-hacking operations. These are not peripheral matters—the

CCP’s harassment provides an alternative explanation for the conduct at issue that bears directly

on, and materially undercuts, the government’s allegations in this case.

         It is therefore obvious that information about the CCP’s targeting of Mr. Kwok and the

NFSC is exculpatory and must be produced. But the government refuses to search for and produce

any additional information about the CCP’s campaign from the government’s files or the FBI’s

files,                                                                                       . The



                                                 2
         Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 7 of 33




government’s position is inexplicable and unsupportable. The government is seeking to convict

Mr. Kwok of offenses that could yield decades-long prison terms. He is entitled to evidence that

supports his defense. Thus, Mr. Kwok respectfully requests that the Court order the government

to review and produce this information within fourteen (14) days of the Court’s ruling. Mr.

Kwok’s constitutional rights require nothing less.

                                RELEVANT BACKGROUND

I.     Operation Fox Hunt

       In the nearly 75 years that the CCP has ruled China, the party has brooked little dissent, for

example, forcibly quashing peaceful pro-democracy protests in Tiananmen Square in Beijing on

June 4, 1989. More recently, the CCP has embarked on a purported “anti-corruption” campaign,

through which it regularly pursues trumped-up charges of financial crimes to sideline

whistleblowers and political dissidents. See, e.g., Operation Fox Hunt: How China Exports

Repression    Using    a   Network     of   Spies    Hidden    in   Plain    Sight,   available   at

https://www.propublica.org/article/operation-fox-hunt-how-china-exports-repression-using-a-

network-of-spies-hidden-in-plain-sight (last visited Oct. 26, 2023) (quoting former Assistant

Attorney General John Demers as saying, “we also know that the Chinese government has used

the anti-corruption campaign more broadly within the country with a political purpose,” and that

“some of these people didn’t do what they are charged with having done”).

       In furtherance of its purported anti-corruption campaign, the CCP launched Operation Fox

Hunt to ruthlessly repress and silence its critics throughout the world, as acknowledged in the

DOJ’s—including the SDNY USAO’s—own filings. See id.; see also United States v. Ying, 22

Mag. 1711 (S.D.N.Y.) (bringing criminal charges against alleged participants in Operation Fox

Hunt). As described in the Ying complaint, since 2014, the CCP through Operation Fox Hunt “has



                                                 3
         Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 8 of 33




engaged in unsanctioned, unilateral, and illegal practices, including coercion, extortion, and

intimidation,” to try to force “‘fugitive’ targets”—i.e., Chinese nationals who have fled to foreign

countries, including the United States—and their families to cooperate with, or repatriate to, the

People’s Republic of China (“PRC”). (Barkan Decl. Exhibit A ¶ 10(a).) 1 According to the

government, Operation Fox Hunt even includes co-opting the FBI and other U.S. law enforcement

officers. (See id. ¶¶ 20, 22; see also United States v. Chun, 16 Cr. 518 (VM) (S.D.N.Y.), Dkt. No.

7 (FBI employee pleading guilty to acting as an agent of China and providing sensitive FBI

information to China); United States v. Liu, No. 22 Cr. 311 (LDH) (E.D.N.Y.), Dkt. No. 8

(charging, among others, Department of Homeland Security officer in connection with providing

sensitive agency information to China).)

       Mr. Kwok is one of the most prominent Operation Fox Hunt victims in the world.




1
 “Barkan Decl.” or “Barkan Declaration” refers to the declaration of Matthew S. Barkan, dated
November 17, 2023, submitted in support of this motion.
                                                 4
         Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 9 of 33




       A primary goal of Operation Fox Hunt is to return purported “fugitives” back to China to

face criminal charges. (Barkan Decl. Ex. A, ¶ 10(a).) In this regard, the CCP has gone to

significant, and frankly remarkable, lengths to try to return Mr. Kwok to China and thus prevent

him from continuing his criticism of the CCP.                                                ; filed

Interpol “red notices” against him, which the Department of Justice has recognized as a tactic of

the CCP in furthering Operation Fox Hunt (see United States v. Feng, 20 Mag. 1025 (E.D.N.Y.),

attached at Barkan Decl. Exhibit C ¶ 17); and bribed U.S. citizens to lobby senior U.S.

government officials for the “removal and return” of Mr. Kwok to China.                  See, e.g.,

https://www.justice.gov/opa/pr/elliott-broidy-pleads-guilty-back-channel-lobbying-campaign-

drop-1mdb-investigation-and and https://www.cnbc.com/2020/10/08/trump-ex-fundraiser-elliott-

broidy-charged-with-lobbying-violation.html. Strikingly, China also successfully corrupted a

lawyer at the Department of Justice as part of the latter effort. See United States v. Higginbotham,

No. 18 Cr. 343 (CKK), Dkt. No. 13, ¶¶ 6-8, 11 (D.D.C. 2019) (describing how DOJ attorney

attempted to illegally facilitate Mr. Kwok’s extradition to China).

II.    The New Federal State of China (NFSC)

       To escape the CCP’s targeting of him, Mr. Kwok sought refuge in the United States,

arriving in 2014. Beginning in or about 2017, Mr. Kwok began to speak publicly about corruption

within the CCP and the need for democratic reform. As Mr. Kwok continued to broadcast, he

attracted more and more followers on social media, eventually developing a following of hundreds

of thousands of pro-democracy Chinese dissidents from around the world, including in the United



                                                 5
        Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 10 of 33




States, the United Kingdom, the European Union, Asia, and Australia. Mr. Kwok’s and his fellow

dissidents’ movement was referred to as the “Whistleblower Movement.” In 2018, to help support

this political movement, Mr. Kwok helped found two non-profit organizations, the Rule of Law

Foundation (the “ROLF”) and the Rule of Law Society (the “ROLS”). According to ROLF’s

website, the organization is “a nonprofit exposing the inherent evil of the authoritarian Chinese

Communist Party government and supporting those seeking freedom and human rights for China.”

See ROLF website, available at https://rolfoundation.org/.

       On or about June 4, 2020, Mr. Kwok publicly announced the formation of the New Federal

State of China (i.e., the NFSC) during a ceremony in New York, New York. The NFSC continues

to oppose the CCP and works in support of establishing democracy in China. See NFSC website,

available at nfscofficial.com. The NFSC’s political activities in support of these goals include

broadcasting news and opinion pieces about events in China to counteract misinformation

disseminated by the CCP, lobbying government officials on matters of concern to the Chinese pro-

democracy movement, and organizing pro-democracy protests. Mr. Kwok and other NFSC

members regularly broadcast about the need for the Chinese people to be free of CCP oppression

and for those opposed to the CCP to develop critical infrastructure not controlled by the CCP,

including communication channels and currency. The NFSC’s (and Mr. Kwok’s) message was

endorsed, amplified, and supported by prominent American businesspersons and political figures.




                                                       To evade the CCP, Mr. Kwok and other



                                               6
        Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 11 of 33




movement members began broadcasting through an independent media company called Guo

Media, which was owned by Saraca Media Group (“Saraca”). Guo Media generated substantial

excitement in the Chinese pro-democracy community, as well as significant investor interest. In

response to this investor interest in Guo Media, in 2020, GTV was founded to, among other things,

break through the Chinese media censorship firewall (commonly known as the “Great Firewall of

China”), a CCP censorship program intended to prevent the Chinese people from accessing

accurate information that painted the CCP in a negative light. (Barkan Decl. Exhibit D (offering

memorandum) at 11.) In April 2020, a private placement offering in GTV was announced.

Saraca—the owner of Guo Media—was also the majority shareholder of GTV, owning 80% of the

company. On or about June 2, 2020, around the same time as the NFSC’s founding, Mr. Kwok

announced that GTV had gone live.

       As the Court knows, many of the allegations in the Indictment relate to the private offering

of GTV shares to Mr. Kwok’s fellow Chinese pro-democracy dissidents, i.e., members of the

NFSC. Despite the very public accusations of fraud by the government and the SEC against Mr.

Kwok, and the government’s continued denigration of that movement, the NFSC’s political

activism has not dampened. Even after these charges were made public, on or about June 4, 2023,

the NFSC hosted a third anniversary event at the Mahwah Facility. The event was attended by

multiple members of the U.S. Congress, some of whom addressed the gathering. Other guests

included a former U.S. ambassador and chairman of the House Intelligence Committee; a retired

high-ranking U.S. military officer who had formerly served as Director for Cybersecurity Policy,

Strategy, and International Affairs in the Office of the Secretary of Defense; and a sitting U.S.

mayor. The gathering was attended by hundreds of NFSC members. The NFSC also continues to




                                                7
        Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 12 of 33




broadcast informational materials, including, from the Mahwah Facility until the Bankruptcy Court

enjoined NFSC members from accessing the property.

III.




                                               8
         Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 13 of 33




IV.     The Indictment & the Government’s Brady Disclosures

        A.      The Indictment

        On or about March 6, 2023, a grand jury sitting in this District returned a sealed indictment

against Mr. Kwok and co-defendant Kin Ming Je (the “Original Indictment”). (See Dkt. No. 2.)

On March 29, 2023, the government filed the Indictment charging Mr. Kwok, Kin Ming Je, and

Yanping Wang with, inter alia, securities fraud, wire fraud, and money laundering.                The

Indictment alleges that Mr. Kwok was the leader of a scheme in which the defendants defrauded

investors through a series of allegedly fictitious businesses and investment opportunities for the

defendants’ personal enrichment. (See Ind. ¶¶ 1-2, 4.) The (disputed and incorrect) allegations of

the defendants’ purported misappropriation of funds are central to the Indictment. (See, e.g., id.

¶¶ 4, 16(a)-(e), 23.)

        The Indictment alleges fraud in connection with four business ventures related to the NFSC.

First, the Indictment alleges that money was misappropriated from the GTV private placement

funds to make an investment in a hedge fund on behalf of Saraca, GTV’s majority owner. (Ind. ¶

13). Second, the Indictment alleges that money was misappropriated from membership fees paid

to the company GCLUBS to pay for property for the benefit of Mr. Kwok and his family, most

notably the Mahwah Facility. (Id. ¶¶ 15-16). Third, the Indictment alleges that money was

misappropriated from a lending program implemented by regional movement organizations called

“Farms,” referred to as the “Farm Loans Program,” and used for, among others, Mr. Kwok’s and

his family’s benefit, as well as for the benefit of Mr. Je’s family. (Id. ¶ 14). Fourth, the Indictment

alleges that Mr. Kwok and Mr. Je defrauded alleged victims in connection with purchase of two

digital currencies known as the H-Dollar and H-Coin. (Id. ¶¶ 17-23). In connection with its

allegations about these four schemes, the government relies heavily on purported consciousness



                                                  9
         Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 14 of 33




of guilt evidence, including the use of multiple bank accounts in connection with the relevant

financial transactions and Mr. Kwok’s use of dozens of cellphones. (Id. ¶ 3; Govt. Opposition to

Pretrial Release, Dkt. No. 26 at 3, 14.)

       In the Indictment, the government also appears to assert that Mr. Kwok and his fellow

movement members are not genuine dissidents. For example, the Indictment refers to Mr. Kwok

as a “purported” dissident who “claim[ed] to advance a movement against the [CCP].” (Ind. ¶

6(a); see also id. ¶ 6(b) (describing Mr. Kwok’s “purported campaign against the [CCP].)

Likewise, the Indictment describes ROLF and the ROLS as “purported non-profits” through which

Mr. Kwok attracted supporters for his “purported” dissident campaign. (See id.) These assertions

thus squarely put into play evidence concerning the authenticity of the NFSC and Mr. Kwok’s

dissident status. In fact, the Indictment’s assertions are belied by the actions of the CCP (and the

DOJ’s own allegations elsewhere),

precisely because his dissident efforts against the CCP were effective and sincere. That the

government now conveniently changes position from its own reasoning             is reason enough to

grant the motion to compel, because the materials sought will confirm that Mr. Kwok, the NSFC,

and the other parts of Mr. Kwok’s movement are entirely genuine.

       B.      The Government’s Brady Disclosure




                                                10
          Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 15 of 33




V.       Mr. Kwok’s Discovery Requests and the Government’s Response

         A.     Mr. Kwok’s Discovery Requests

         On September 29, 2023, Mr. Kwok sent a discovery demand to the government, in which

he requested production of several categories of records, including eight requests that call for

production of information concerning Operation Fox Hunt and related topics (collectively, the

“Fox Hunt Brady Evidence”) (Barkan Decl. Exhibit I). Those requests are summarized in the

following table:


2
    See, e.g., Barkan Decl., Exhibit H (G|CLUBS membership agreement).
                                              11
        Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 16 of 33




  Request Number                                       Request

          1            Records concerning the allegations in the Bai complaint, including the
                       underlying evidence of targeting of
          2            Records concerning the Government of China’s targeting of Mr. Kwok
                       as part of Operation Fox Hunt, including

                                                                                        (iii) the
                       payment of bribes to U.S. citizens to solicit U.S. government officials to
                       extradite Mr. Kwok to China; and (iv) any cyber-attacks on any
                       property used or owned by Mr. Kwok or his family
          3            Records concerning the targeting of Mr. Kwok’s family by the Chinese
                       government, including as part of Operation Fox Hunt
          4            Records concerning the targeting of any of the alleged victims of the
                       schemes described in the Indictment by the Chinese government,
                       including as part of the Operation Fox Hunt
          5            Records concerning the NFSC, including any intelligence assessments
                       concerning the NFSC or records reflecting the targeting of the NFSC or
                       its members by the Chinese government, including as part of Operation
                       Fox Hunt
          6            Records concerning the targeting of Mr. Kwok’s co-defendants by the
                       Chinese government, including as part of Operation Fox Hunt
          7            Records concerning the targeting of the corporate entities relevant to the
                       Indictment, including GTV, Saraca Media, G|CLUBS, G|Fashion, and
                       the Himalaya Exchange, by the Chinese government, including as part
                       of Operation Fox Hunt
          8            Any statements from purported “victims” concerning the NFSC


       In addition, Mr. Kwok’s counsel noted that the government had indicated that it “may”

produce classified discovery to the defense, and defense counsel therefore requested that the

government produce any classified information that qualified as Brady or Giglio material within

15 days of the September 29 Discovery Letter. (Barkan Decl. Ex. I (Kwok letter at 5-6)). Defense

counsel further requested that the government indicate whether it would produce the Fox Hunt

Brady Evidence by October 9, 2023. (Id. at 7).




                                                 12
         Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 17 of 33




       B.      The Government Refuses to Produce the Fox Hunt Brady Evidence and the
               August 26 Recording

       On October 17, 2023, the government responded to Mr. Kwok’s discovery requests (the

“October 17 Government Response,” Barkan Decl. Exhibit J) and represented that the USAO-

SDNY had produced everything it has received concerning the Bai complaint. Yet the USAO-

SDNY argued that, because the prosecutors responsible for this case had not participated in the

investigation underlying the Bai complaint, the government need search no further than the USAO-

SDNY’s files. (Barkan Decl. Ex. J at 1). The government also asked defense counsel to articulate

why the information sought by Requests 3 through 8 in Mr. Kwok’s discovery demand was

relevant or discoverable. (Id.). Finally, that same day, the government produced, for the first time,

                                      that led to the 2019 Search Warrants, and the application,

affidavit, and warrant for the Supplemental 2019 Warrant.

       The next day, on October 18, 2023, Mr. Kwok’s counsel responded by email. In their

email, counsel stated that (i)



                                         ; and (ii) the government had put at issue the bona fides of

the NFSC as a political movement on multiple occasions. Counsel also requested that the

government confirm that it had or would produce the August 26 Recording. (Barkan Decl. Exhibit

K at 3-4).

       Three days later, on October 21, 2023, the government responded in a letter, disputing,

among other things,

                                                                     ; claiming that the government

had insufficient information to consider Mr. Kwok’s request for the Fox Hunt Brady Evidence;

and clarifying that the government had not produced the August 26 Recording, without any

                                                 13
        Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 18 of 33




explanation of why it was not produced or whether its production was forthcoming. (Barkan Decl.

Exhibit L).

       That same day, on October 21, 2023, Mr. Kwok’s counsel responded by email stating that

the government was well-equipped to evaluate the relevance of the requested evidence because,

among other things, Mr. Kwok had provided an example of how the Fox Hunt Brady Evidence

was relevant in his recent filings, and the requests were predicated, in material part, on the

government’s own Brady disclosure. Mr. Kwok’s counsel also specifically identified an example

of how a document about the NFSC would be relevant. Finally, defense counsel asked specifically

whether the government intended to produce the August 26 Recording, and if not, why not.

(Barkan Decl. Ex. K at 1-2).

       On October 25, 2023, the government responded with a brief note that it disagreed with

Mr. Kwok’s counsel’s “recounting of facts and [its] assessment of the law.” The government

contended that the materials in question “do not appear relevant to this matter.” The government

once again requested that Mr. Kwok “explain the relevance of the information.” (Barkan Decl.

Ex. K at 1). Given the government’s stubborn unwillingness to acknowledge the relevance of this

information, even though the government included it in its Brady Disclosure, Mr. Kwok filed the

instant Motion.

                                         ARGUMENT

       To prepare his defense, Mr. Kwok respectfully requests an order compelling the

government (i) to search for and produce the information sought in Requests 2 through 8 and 19

of his September 29 Discovery Request; (ii) to produce the August 26 Recording and any other

statements of Mr. Kwok’s in the government’s possession, custody, or control; and (iii) to identify

any other government agency that holds any exculpatory evidence concerning Operation Fox Hunt


                                                14
         Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 19 of 33




or the NFSC, and/or any exculpatory statements by Mr. Kwok, so that Mr. Kwok can serve them

with Rule 17 subpoenas.

       The foregoing evidence is directly relevant to the allegations in the Indictment—it not only

rebuts the government’s attacks on Mr. Kwok’s and the NFSC’s bona fides as a pro-democracy

dissident movement, but it also helps explain the conduct in the Indictment. Such evidence is the

paradigmatic example of Brady material essential to Mr. Kwok’s defense. Indeed, the government

has all but admitted as much through its Brady Disclosure and the subject matter of the Indictment.

Accordingly, Mr. Kwok respectfully requests that the Court direct the government to produce this

evidence.

I.     Applicable Law

       “Upon a defendant’s request, the government must permit the defendant to inspect and to

copy or photograph books, papers, documents, data, photographs, tangible objects, buildings or

places, or copies or portions of any of these items, if the item is within the government’s possession,

custody, or control and . . . the item is material to preparing the defense.” Federal Rule of Criminal

Procedure 16(a)(1)(E)(i). Similarly, the government is required to produce any recorded statement

of the defendant’s in the government’s possession or control, or about which the prosecutor knows

or could learn about “through due diligence.” (Id., 16(a)(1)(B).)

       The “materiality standard [of Rule 16] normally is not a heavy burden; rather, evidence is

material as long as there is a strong indication that it will play an important role in uncovering

admissible evidence, aiding witness preparation, corroborating testimony, or assisting

impeachment or rebuttal.” United States v. Stein, 488 F. Supp. 2d 350, 356-57 (S.D.N.Y. 2007)

(quoting United States v. Lloyd, 992 F.2d 348, 351 (D.C. Cir. 1993)). In other words, evidence is

material “if it could be used to counter the government’s case or to bolster a defense.” United



                                                 15
        Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 20 of 33




States v. Stevens, 985 F.2d 1175, 1180 (2d Cir. 1993). “The Government should interpret the

language of Rule 16 broadly to ensure fairness to the defendant.” United States v. Martinez, 844

F. Supp. 975, 982 (S.D.N.Y. 1994). “A narrow view of Rule 16(a)[1][E][i] is inappropriate; failure

to provide reasonably available material that might be helpful to the defense and which does not

pose any risks to witnesses or to ongoing investigation is contrary to requirements of due process

and to the purposes of the Confrontation Clause.” United States v. Zanfordino, 833 F. Supp. 429,

432 (S.D.N.Y. 1993).

       In addition, the government has a legal and ethical obligation to identify all material that

might aid the defense under Brady v. Maryland, 373 U.S. 83 (1963). “The basic rule of Brady is

that the Government has a constitutional duty to disclose favorable evidence to the accused where

such evidence is ‘material’ either to guilt or to punishment.” United States v. Coppa, 267 F.3d

132, 139 (2d Cir. 2001) (citing Brady, 373 U.S. at 87). This broad duty covers not only exculpatory

material, but also information that could be used to impeach a key government witness. Coppa,

267 F.3d at 135 (citing Giglio v. United States, 405 U.S. 150, 154 (1972)). In determining whether

evidence is material under Brady, a court’s analysis “turns on the cumulative effect of all such

evidence suppressed by the government.” Kyles v. Whitley, 514 U.S. 419, 421 (1995) (citing

United States v. Bagley, 473 U.S. 667, 675 & n.7 (1985)). Thus, the government has the

responsibility to “gauge the likely net effect of all such evidence and make disclosure when the

point of ‘reasonable probability’ is reached.” Id. at 437. This duty extends to learning about “any

favorable evidence known to the others acting on the government’s behalf in the case.” Id.

       In fulfilling its Brady obligations, the government’s search “must extend to sources that are

readily available to the government and that, because of the known facts and nature of the case,

should be searched as a function of fairness to the defendant,” including sources in possession of



                                                16
         Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 21 of 33




the U.S. intelligence community (the “IC”). Just. Manual § 2052(B)(2). Moreover, the Second

Circuit has adopted a more permissive standard than Brady in cases involving classified information

in the possession of the IC, requiring disclosure of any information that may be “relevant and helpful”

to the defense. United States v. Aref, 533 F.3d 72, 80 (2d Cir. 2008) (recognizing that “information

can be helpful without being ‘favorable’ in the Brady sense.”).

       The fact that discoverable information may be classified does not relieve the government of

its obligation to disclose the material to the defendant. See United States v. Poindexter, 725 F. Supp.

13, 32 (D.D.C. 1989) (stating that “the protection of the rights of the defendant is paramount under

the statutory scheme” of the Classified Information Procedures Act); see also United States v. Abu-

Jihaad, 630 F.3d 102, 141 (2d Cir. 2010) (stating that the states-secrets privilege is not absolute

but “must—under some circumstances—give way . . . to a criminal defendant’s right to present a

meaningful defense”). Here, for example, any purported classified information should still be

produced, given that Mr. Kwok has two cleared counsel and has a substantial “need to know” this

information because it is critical to his defense.

II.    Discussion

       A.      Any Fox Hunt Brady Evidence Should Be Disclosed

               (1) Requests 2-4 and 7-8 Seek Discoverable Information about CCP
                   Targeting of Relevant Parties to this Case
       Requests 2, 3, 4, 7, and 8 all generally call for evidence related to the CCP’s targeting of

Mr. Kwok, his family, his co-defendants, and the corporate entities relevant to the Indictment, i.e.,

GTV, Saraca, G|CLUBS, G|Fashion, and the Himalaya Exchange. These documents are critical

to Mr. Kwok’s defense.

       The government has repeatedly and consistently contended Mr. Kwok is not a true political

dissident and that the NFSC is not a true Chinese pro-democracy movement. (See, e.g., Ind. ¶ 6(a)


                                                     17
         Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 22 of 33




(describing Mr. Kwok as “claiming to advance a movement against the [CCP]”); ¶ 6(b) (describing

Mr. Kwok’s “purported campaign against the [CCP]” and the ROLF and ROLS as “purported”

non-profit organizations); Barkan Decl. Ex. F (Supplemental 2019 Warrant) at USAO-0054409

(                                                                                         ); Govt.

Stay Opp. at 2 (describing the NFSC as a “purported” political movement in its opposition, and

accusing its members of obstructing justice).)

       The government’s disparagement of the political activism of hundreds of thousands of pro-

democracy advocates is purely tactical, and deployed in service of trumpeting a (false) narrative

that Mr. Kwok is a fraudster who, according to the government, promoted purported money-

making “opportunities” related to GTV, G|CLUBS, the Farms, and the Himalaya Exchange to

defraud his followers, rather than to further their shared political goals. (See Ind. ¶ 6). Thus,

whether Mr. Kwok is a true political dissident is relevant to both the government’s case-in-chief

and Mr. Kwok’s defense, and it will be a key disputed issue of fact at trial.

       Given that the government has put the legitimacy of Mr. Kwok’s political activism at issue,

Mr. Kwok is entitled to defend himself by rebutting the government’s attack on his and the NFSC’s

opposition activities to the CCP, which activities encompass the alleged criminal conduct

identified in the Indictment. There is no better evidence of the genuineness of the Chinese pro-

democracy dissident movement—and the all-too-real risks of participating in it—than the fact that

one of the world’s most powerful nations has not only tried to silence Mr. Kwok and the political

activism that the government now derides, but moreover, has gone to extraordinary lengths to do

so, including




                                                 18
        Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 23 of 33




                  ; and (iv) co-opting American citizens to bribe U.S. politicians to cause Mr.

Kwok’s extradition to China. (See supra p. 5.) The CCP’s actions are strong evidence that Mr.

Kwok’s and the NFSC’s political activism is not contrived to support a fraud, as the government

contends, but genuine activism sufficient to provoke a criminal response from the CCP.

       Evidence of Operation Fox Hunt thus undercuts the government’s narrative that Mr. Kwok

and his movement engage in “purported,” rather than actual, political activism. That political

activism, in turn, explains Mr. Kwok’s nonfraudulent intent in promoting GTV, G|CLUBS, the

Farm Loans, and the Himalaya Exchange, and is thus relevant. See United States v. Coonan, 938

F.2d 1553, 1561 (2d Cir. 1991) (“The trial court may admit evidence that does not directly establish

an element of the offense charged, in order to provide background for the events alleged in the

indictment. Background evidence may be admitted to show, for example, the circumstances

surrounding the events or to furnish an explanation of the understanding or intent with which

certain acts were performed.”).

       Moreover, the ways in which the CCP has targeted Mr. Kwok and other members of the

NFSC are directly relevant to other specific allegations in the Indictment, including, for example,

the following:

       The Formation and Value of GTV: The government alleges that Mr. Kwok knowingly

orchestrated the formation of and private placement for GTV to defraud his followers, and did so,

by, among other things, overstating the value of the company. (Ind. ¶ 14(d).) GTV is a social

media company, however, and, like all such early-stage companies, its eventual value depended in

part on its ability to attract users. See, e.g., “How to Value a Social Media Company – PWC

Valuation Index,” available at https://pwc.blogs.com/press_room/2011/05/how-to-value-a-social-

media-company-pwc-valuation-index.html (describing how valuation of a social media company



                                                19
         Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 24 of 33




turns on whether the company can attract and monetize its user base). As the GTV Confidential

Offering Memorandum makes clear, GTV’s purpose was to break through the Great Firewall of

China, which currently prevents Chinese citizens from accessing numerous social media and news

websites, including the NFSC and Mr. Kwok’s messaging. As the Indictment concedes, even

before GTV, Mr. Kwok’s pro-democracy messaging was powerful enough to amass hundreds of

thousands of followers who were sympathetic to his message and the prospects of a democratic

China. (Ind. ¶¶ 2, 6(b).)




                                                                                        Without

the formation of a company like GTV, the NFSC’s pro-democracy messaging might have been

silenced entirely.

       Given the number of Mr. Kwok’s followers and the population of China, the potential user

base for GTV included millions of individuals who believed like Mr. Kwok in the corruption of

the CCP and the need for reform, but who increasingly had nowhere to turn to access that message.

Moreover, Mr. Kwok had reason to believe that NFSC users of GTV would be particularly

enthusiastic in supporting GTV’s business because they were similarly committed to GTV’s

mission to combat the CCP and believed their support of GTV would help that mission. Under

these circumstances, Mr. Kwok reasonably could anticipate that as the appeal of the NFSC’s

message grew, GTV would enjoy explosive growth and turn into an immensely valuable

company—a reasonable thesis supported by an independent valuation of GTV—and Mr. Kwok

wanted to provide NFSC members the opportunity to share in it.




                                               20
         Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 25 of 33




       The role of Operation Fox Hunt in creating both the necessity for, and the potential

monopoly position of, GTV is thus critical to demonstrating Mr. Kwok’s intent when making

statements concerning GTV’s potential value. Accordingly, evidence concerning the CCP’s

targeting of Mr. Kwok’s and the NFSC’s social media presence—

               —is “favorable to the defense” and should be produced. See United States v.

Rittweger, 524 F.3d 171, 181 (2d Cir. 2008) (evidence is Brady evidence where it “len[ds]

credence” to defendant’s innocent belief in connection with an alleged misrepresentation); see also

United States v. Percoco, No. 16 Cr. 776 (VEC), 2017 WL 6314146, at *23 (S.D.N.Y. Dec. 11,

2017) (ordering pre-trial production of Brady material pertaining to information that supported

defendant’s belief of appropriateness of particular conduct).

       The Purchase of the Mahwah Facility: A central (and incorrect) allegation in the

Indictment is that Mr. Kwok and his alleged co-conspirator William Je misappropriated millions

of dollars to purchase and renovate the Mahwah Facility for the benefit of Mr. Kwok and his family.

(Ind. ¶¶ 4, 16(b)-(c).) Mr. Kwok will demonstrate at trial, however, that the Mahwah Facility was

never intended to serve as Mr. Kwok’s residence. Rather, it was purchased by G|CLUBS for use

as a secure meeting place for its members, many of whom are also members of the NFSC. The

need for secrecy and security around the Mahwah Facility is easily explainable against the

backdrop of Operation Fox Hunt and the CCP’s efforts to threaten and harm members and disrupt

their activities. Put simply, it is entirely reasonable for Mr. Kwok to believe the movement

required a secure location to conduct its business given that,

                                                                          . Similarly, the need for

members of the NFSC to be able to discreetly conduct its affairs out of public view makes perfect

sense when the CCP uses private investigators to identify and hunt down Fox Hunt victims. See



                                                 21
        Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 26 of 33




United States v. Ji, No. 21 CR 265, 2022 WL 595259, at *2-6 (E.D.N.Y. Feb. 28, 2022) (denying

motion to dismiss brought by private investigator ultimately convicted of acting as an illegal agent

of the PRC, conspiracy to commit interstate stalking, and interstate stalking, alongside two others

convicted of similar crimes); see also “Federal Jury Convicts Three Defendants of Interstate

Stalking of Chinese Nationals in the U.S. and Two of Those Defendants for Acting or Conspiring

to Act on Behalf of the People's Republic of China,” available at https://www.justice.gov/usao-

edny/pr/federal-jury-convicts-three-defendants-interstate-stalking-chinese-nationals-us-and (June

20, 2023). The CCP even established secret police stations in New York City to “threate[n] and

coerc[e] Chinese political dissidents living in the United States in an effort to silence them.” See

United States v. Jianwang, No. 23 Mag. 265 (E.D.N.Y.) Dkt. No. 4 at ¶¶ 2-10, (attached hereto as

Exhibit M).3 Showing that Operation Fox Hunt posed real security risks to Chinese political

dissidents like Mr. Kwok and his fellow NFSC members will help explain to the jury why the

movement would need a building like the Mahwah Facility and Mr. Kwok’s involvement with it.

See Rittweger, 524 F.3d at 181 (evidence that “lend credence” to defendant’s innocent belief in

connection with an alleged misrepresentation is Brady).

       The Use of Multiple Bank Accounts: The government also makes much of its allegations

that some of the financial transactions were conducted through multiple bank accounts in multiple

parties’ names. (Ind. ¶¶ 3, 16, 50.) The government contends this was an attempt to evade

detection of illegal activity by U.S. authorities and financial institutions. At trial, however, Mr.

Kwok will show that this was not done for the purposes of evading U.S. authorities, but a necessary


3
 Indeed, while the government refuses to even search for the information Mr. Kwok requested, it
nevertheless produced transcripts from the trial of Prakazrel Michel, who was convicted of,
among other things, participating in the attempted illegal extradition of Mr. Kwok, presumably
because the government believes this testimony is relevant. (Barkan Decl. Exhibit N at 8
(October 26 Government Response).)

                                                22
        Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 27 of 33




by-product of Operation Fox Hunt and the targeting of Mr. Kwok and the NFSC. In this regard,

the CCP has not hesitated to target political dissidents by, among other things, interfering with

their banking relationships.4 Information showing that the CCP was interfering with Mr. Kwok’s

and the NFSC’s ability to maintain bank accounts and transfer funds—or indeed even information

that would tend to show a reasonable belief on Mr. Kwok’s part that such interference was likely

to happen—would dramatically undercut the government’s contention that the reason why the

alleged co-conspirators used multiple bank accounts was to conceal illegal activity from U.S.

authorities. See Coonan, 938 F.2d at 156 (“Background evidence may be admitted to show, for

example, the circumstances surrounding the events or to furnish an explanation of the

understanding or intent with which certain acts were performed.”); Rittweger, 524 F.3d at 181

(evidence that “lent credence” to defendant’s innocent belief is Brady).

       The Use of Multiple Cellphones: The government has also contended that the fact that

the defendants (including Mr. Kwok) allegedly used dozens of cellphones shows consciousness of

guilt. (See Govt. Opposition to Pretrial Release, Dkt. No. 26 at 3, 14; see also Dkt. No. 7 at 20.)

The government’s speculation as to “consciousness” is contradicted by the context Operation Fox




4
  See, e.g., “'Beijing blocked my bank accounts': Chinese dissident in US says Communist Party
froze his life savings,” available at https://finance.yahoo.com/news/beijing-blocked-bank-
accounts-chinese-093000123.html (Nov. 11, 2020).
                                                23
         Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 28 of 33




Hunt provides. It is no secret that the CCP is a prolific state sponsor of hacking and that it targets

those on U.S. soil5 and Chinese political dissidents.6

       Mr. Kwok and his fellow NFSC members are themselves no strangers to Chinese cyber-

attacks. The government itself has produced records in discovery concerning

                                , presumably because the government believes that such hacking

was targeted at Mr. Kwok or otherwise bears on the issues in this case. (Barkan Decl. Exhibit O,

                                                   ) Evidence that demonstrates that Mr. Kwok and

his fellow NFSC members had a well-founded belief that the CCP was attempting to hack them

would explain why they switched cellphones regularly—i.e., to avoid surveillance and interference

from the CCP. See Coonan, 938 F.2d at 156; see also Percoco, 2017 WL 6314146, at *23

(ordering pre-trial production of Brady material pertaining to information that supported

defendant’s belief of appropriateness of particular conduct).

                   (2) Requests 5 and 19

       Request 5 properly calls for records related to the targeting of any of the government’s

alleged victims as part of Operation Fox Hunt. As part of Operation Fox Hunt, the CCP has

corrupted the American judicial system by filing false lawsuits against dissidents. See, e.g., United

States v. An, No. 22 Cr. 460, Dkt. No. 9 ¶ 40 (E.D.N.Y. 2022) (describing how defendant, an



5
  In fact, on July 7, 2020, a little more than a month after the GTV private placement closed, FBI
Director Christopher Wray stated that “[i]f you are an American adult, it is more likely than not
that China has stolen your personal data” and noted how “in 2014, China’s hackers stole more than
21 million records from OPM, the federal government’s Office of Personnel Management.” See
“The Threat Posed by the Chinese Government and the Chinese Communist Party to the Economic
and National Security of the United States,” available at https://www.fbi.gov/news/speeches/the-
threat-posed-by-the-chinese-government-and-the-chinese-communist-party-to-the-economic-
and-national-security-of-the-united-states (July 7, 2020).
6
 See, e.g., “The Chinese dissident’s ‘unknown visitors,” https://www.ft.com/content/c590cdd0-
016a-11df-8c54-00144feabdc0 (January 14, 2010).
                                                 24
         Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 29 of 33




Operation Fox Hunt operative, sought to coerce victim to return to China by knowingly filing a

false civil lawsuit in New York state court).



                                                             Given that the government alleges here

that it was Mr. Kwok’s followers that were defrauded,

                                                                    , there is the very real possibility

that at least some of the government’s purported “victims” in this case have been coerced by the

CCP into making false claims to U.S. authorities. Mr. Kwok is entitled to proffer such evidence

for the jury’s consideration at trial. See, e.g., United States v. LaVallee, 469 F.2d 1239, 1240 (2d

Cir. 1972) (evidence that police tortured trial witness to make particular statement prior to

witness’s trial testimony “is disclosed to the jurors so that they may pass upon the witness’ veracity

and credibility and determine whether the testimony given in open court is truthful and worthy of

consideration.”).8

       Request No. 19 calls for any statement by the government’s purported victims in which

they discussed the NFSC. Statements by the government’s purported victims about the NFSC

would be Brady in several ways. First, if any of these purported victims gave their time or skills

to support the NFSC’s activities (or, for that matter, those of the ROFL or ROLS), that would

bolster Mr. Kwok’s contention that the NFSC is a real political movement, and not the sham that

the government claims.      Second, if any of the government’s purported victims themselves

described the NFSC as a valid political movement, those statements also would rebut the




8
  Given that this information constitutes Brady material, it should be produced now, rather than at
trial.
                                                 25
           Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 30 of 33




government’s claim that the NFSC is fraudulent. Third, Mr. Kwok intends to prove at trial that

before any individual was able to invest in GTV, they were vetted to assess their commitment to

the NFSC’s cause. To the extent any of the government’s alleged victims invested in GTV to

further its anti-CCP objectives (

                                          ), that too would bolster the reasonableness of Mr. Kwok’s

alleged valuation of GTV, by demonstrating that the supporters of GTV, including its users and

investors, were highly motivated to make repeated use of the platform and otherwise help the

fledgling company in whatever way they could. See, e.g., “How to Value a Social Media Company

– PWC Valuation Index,” available at https://pwc.blogs.com/press_room/2011/05/how-to-value-

a-social-media-company-pwc-valuation-index.html (describing how valuation of a social media

company turns on whether the company can attract and monetize its user base).

                     (3) Request 6 Calls for the Production of Discoverable Material

          Request 6 calls for any documents concerning the NFSC, including, but not limited to

    intelligence assessments about the NFSC and evidence about the targeting of the NFSC. This

    evidence is exculpatory, and thus discoverable, because it demonstrates the NFSC’s bona fides

    as a political movement. First, that other U.S. government agencies believe the NFSC is a valid

    opposition movement to the CCP (which is likely given that the movement has received support

    from a one-time senior advisor to the White House, multiple U.S. congresspersons, a former U.S.

    ambassador, and a former high-ranking U.S. military official) rebuts the government’s claim to

    the contrary in this prosecution. (See supra pp. 7.)9 Second, any records showing that the NFSC



9
  To the extent any of these intelligence assessments (or any other discoverable material) are
classified, that does not shield them from discovery. (See supra pp. 17.) Rather, the government
can either declassify this information or produce it in classified discovery to Mr. Kwok’s cleared
counsel, Sabrina Shroff and Sid Kamaraju, both of whom have security clearances, and any of Mr.
Kwok’s counsel that are subsequently cleared.
                                                 26
          Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 31 of 33




 has been a target of Operation Fox Hunt refutes any contention by the government that the

 movement itself is fraudulent. (See supra pp. 17-19). Third, evidence showing that the NFSC

 has been targeted by the CCP supports Mr. Kwok’s argument that the actions alleged in the

 Indictment were not driven by a desire to evade U.S. law enforcement, but rather to evade the

 CCP. (See supra pp. 3-5). Put simply, the government cannot simultaneously attack the NFSC

 as a “purported” political movement while at the same time denying Mr. Kwok access to evidence

 showing that the organization is genuine.

        B.      The August 26 Recording Is Discoverable

        The August 26 Recording is material to the defense and exculpatory.




        It is clear this recording is discoverable.




                                                   Obviously, Mr. Kwok should have the opportunity

to review the recording to see if it offers a basis for a Franks motion.




                                                                                  The government



                                                   27
         Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 32 of 33




should produce the August 26 Recording, as well as any other of Mr. Kwok’s statements that the

government has in its possession or control but has not produced.

        C.     The Government Should Identify Any Other U.S. Government Agency that
               the Government Knows Possesses the Aforementioned Information

        Finally, the government has stated that it intends to file a motion pursuant to Section 4 of

the Classified Information Procedures Act to delete, i.e., withhold classified information. This

suggests that the prosecutors have reviewed classified information in the custody of other

government agencies beyond the FBI, including agencies belonging to the IC. To the extent any

Brady evidence that falls within the categories of information sought by this motion is in these

other agencies’ possession, and the government refuses to produce that evidence on the purported

basis that the evidence is not within the possession of the so-called “prosecution team” (as the

government has asserted with respect to the Trustee and the SEC), then the government should

disclose which agencies hold this information so Mr. Kwok can subpoena these agencies for this

exculpatory information. Such disclosure is not different than the government’s prior Brady

Disclosure,




                                                28
        Case 1:23-cr-00118-AT Document 172 Filed 11/17/23 Page 33 of 33




                                       CONCLUSION

       For the foregoing reasons and the reasons set forth in his opening brief, Mr. Kwok

respectfully requests that the Court enter an order requiring the government to produce the

requested discovery and granting Mr. Kwok such other and further relief as this Court deems just

and proper.

Dated: New York, New York
       November 17, 2023

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                                              29
